                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )       NO.3:10-00065
                                                )       JUDGE CAMPBELL
QUINCY MARUICE FUQUA                            )


                                         ORDER


      Pending before the Court is a Motion to Supplement Record (Docket No. 373). The Motion

is GRANTED.

      It is so ORDERED.

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                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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